 Case 3:18-cv-01059-NJR Document 20 Filed 05/23/18 Page 1 of 4 Page ID #58



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


 MARION DIAGNOSTIC CENTER, LLC,
 ET AL.,
                   Plaintiffs,                       Case No. 3:18-cv-01059

             v.                                      Judge Nancy J. Rosenstengel

 BECTON, DICKINSON, AND CO., et al.
                    Defendants.



                   AGREED MOTION TO EXTEND TIME
       FOR ALL DEFENDANTS TO RESPOND TO PLAINTIFFS’ COMPLAINT

       Cardinal Health, Inc. (“Cardinal Health”), by its undersigned attorneys, requests that this

Court grant this agreed motion to extend the deadline for all Defendants to answer or otherwise

respond to Plaintiffs’ Complaint, and states as follows:

       1.         Plaintiffs filed their Complaint (Dkt. No. 1) on May 3, 2018. Plaintiffs caused the

Complaint to be served on Cardinal Health, and at least some other Defendants, on May 8, 2018.

       2.         Defendants request an extension of the deadline for answering or otherwise

responding to the Plaintiffs’ Complaint to June 29, 2018. This is the first request for extension

of time by Defendants to answer or otherwise respond to the Complaint. This motion is not

made for purposes of delay but to allow the Defendants to further investigate the allegations of

the Complaint and to consolidate as much as possible the briefing of any arguments for dismissal

pursuant to Fed. R. Civ. P. 12 or otherwise that Defendants may wish to make.

       3.         The Parties agree that the filing of this unopposed motion shall not constitute

waiver of (a) any jurisdictional defenses that may be available under Rule 12 of the Federal

Rules of Civil Procedure, (b) any affirmative defenses under Rule 8 of the Federal Rules of Civil
 Case 3:18-cv-01059-NJR Document 20 Filed 05/23/18 Page 2 of 4 Page ID #59



Procedure, or (c) any other statutory or common law defenses that may be available to

Defendants.

       4.     Counsel for Plaintiffs has been consulted and has agreed to this motion. Counsel

for all Defendants have also been consulted and have agreed to this motion.

       5.     A draft order is attached to this Motion as Exhibit A and will also be submitted in

a format compatible with Microsoft Word to NJRpd@ilsd.uscourts.gov.

Dated: May 23, 2018                         Respectfully submitted,
                                            /s/ Paula W. Render
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                                            Counsel for Cardinal Health, Inc.




                                               2
 Case 3:18-cv-01059-NJR Document 20 Filed 05/23/18 Page 3 of 4 Page ID #60



                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 MARION DIAGNOSTIC CENTER, LLC,
 ET AL.,
                   Plaintiffs,                   Case No. 3:18-cv-01059

            v.                                   Judge Nancy J. Rosenstengel

 BECTON, DICKINSON, AND CO., et al.
                    Defendants.



                  [PROPOSED] ORDER EXTENDING TIME
       FOR ALL DEFENDANTS TO RESPOND TO PLAINTIFFS’ COMPLAINT

       IT IS HEREBY ORDERED, pursuant to the agreement of the parties, that the deadline

for all Defendants to answer or otherwise respond to Plaintiffs’ Complaint is hereby extended to

June 29, 2018.

Dated: May 23, 2018



                                            The Honorable Nancy J. Rosenstengel
                                            United States District Judge
 Case 3:18-cv-01059-NJR Document 20 Filed 05/23/18 Page 4 of 4 Page ID #61



                                CERTIFICATE OF SERVICE

       I certify that I caused a copy of this Agreed Motion to Extend Time For All Defendants

To Respond To Plaintiffs’ Complaint to be served on all counsel of record via the Court’s

Electronic Filing system, and on counsel for the following parties via email:

 Counsel for Becton, Dickinson, and Co.             Counsel for Henry Schein, Inc.

 Robert A. Atkins                                   Barack S. Echols
 Jacqueline P. Rubin                                KIRKLAND & ELLIS LLP
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 Counsel for Premier, Inc.                          Counsel for Vizient, Inc.

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                                                4
